            Case 1:21-mj-00067-ZMF Document 18 Filed 11/19/21 Page 1 of 2




                            IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                              *
                                                      *
                      vs.                             *        Case No. 1:21-mj-00067 (RMM)
                                                      *
KASH KELLY,                                           *
         Defendant                                    *
                                                      *

                                                   ooOoo

                               CONSENT MOTION TO CONTINUE
                            PRELIMINARY HEARING FOR SIXTY DAYS

       Defendant, Kash Kelly, by his undersigned counsel hereby respectfully moves this Honorable

Court to continue the Preliminary Hearing scheduled for November 22, 2021 to allow Mr. Kelly to

review discovery and consider a plea agreement that the Government has tendered to him. AUSA

Emory Cole consents to this request.

       1.         Mr. Kelly is charged by Criminal Complaint with two misdemeanor offenses arising

out of his alleged conduct at the United States Capitol on January 6, 2021. See Complaint, (ECF 1,

filed 1/15/21).

       2.         A Preliminary Hearing in this matter is scheduled for November 22, 2021.

       3.         The Government has tendered a plea agreement to Mr. Kelly, who needs time to

review it and discuss its provisions with his counsel. Mr. Kelly also requires additional time to

review discovery produced by the Government.

       4.         A non-trial resolution of the case and tolling of the Speedy Trial is in the best interests

of Mr. Kelly and of the public and furthers the interests of justice.

       5.         Mr. Kelly is presently serving a federal sentence in an unrelated case so that his

continued detention will not prejudice him as he will receive credit for the time he is serving.
            Case 1:21-mj-00067-ZMF Document 18 Filed 11/19/21 Page 2 of 2




       6.       Mr. Kelly has communicated to counsel that he consents to this request.

       WHEREFORE, Mr. Kelly respectfully requests that the Court continue the Preliminary

Hearing scheduled for November 22, 2021 for sixty days to and including January 21, 2021.


                                                    Respectfully submitted,

                                                    /s/ Carmen D. Hernandez
                                                    Carmen D. Hernandez
                                                    Bar No. MD 03366
                                                    7166 Mink Hollow Rd
                                                    Highland, MD 20777
                                                    240-472-3391
                                                    chernan7@aol.com

                                CERTIFICATE OF SERVICE

        I hereby certify that a copy of the Consent Motion to Continue the Preliminary Hearing was
served this 19th day of November, 2021 on all counsel of record via ECF.



                                                    /s/ Carmen D. Hernandez
                                                    Carmen D. Hernandez




                                                2
